
PER CURIAM:
This claim was submitted to the Court for decision upon a Stipulation entered into by claimant and respondent wherein certain facts and circumstances of the claim were agreed to as follows:
1. Claimant was traveling Route 50 East in C larksburg, Harrison County, when her vehicle struck a broken road reflector causing substantial damage to her vehicle.
2. Respondent was responsible for the maintenance of this portion of Route 50 in Clarksburg, Harrison County, and respondent failed properly to maintain Route 50 at this location in Harrison County on the date of this incident.
3. As a result of this incident, claimant’s vehicle sustained damage in the amount of $858.44.
4. Respondent agrees that the amount of damages as put forth by the claimant is fair and reasonable.
The Court has reviewed the facts of the claim as stated in the stipulation and adopts the statement of facts as its own. The Court finds that respondent was negligent in its maintenance of Route 50 in Clarksburg, Harrison County, on the date of this incident; that the negligence of respondent was the proximate cause of the damages sustained to claimant’s vehicle; and that the amount of the damages agreed to by the parties is fair and reasonable. Thus, claimant may make a recovery for her sustained loss.
Accordingly, the Court is of the opinion to and does make an award in the amount of $858.44.
Award of $858.44.
